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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

FROME WYE LIMITED,

Plaintiff,

Vy. No. 22-MC-249-CFC

HOSIE RICE LLP, SPENCER HOSIE,
AND DIANE RICE,

Defendants.

FINAL JUDGMENT

At Wilmington, on this Eleventh day of March in 2024, for the reasons set
forth the United States Magistrate Judge’s Report and Recommendation (D.I. 43)
and Court’s Order Adopting the United States Magistrate Judge’s Report and
Recommendation (D.I. 47);

IT IS HEREBY ORDERED THAT:

1. The arbitration award is CONFIRMED;

2. Final judgment is entered in favor of Petitioner Frome Wye Limited
and against Respondents Hosie Rice, LLP, Spencer Hosie, and Diane Rice as
follows;

A. Contractual damages in the amount of $1,817,000 (one million,

eight hundred and seventeen thousand dollars);
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B. Accrued pre-judgment interest from June 1, 2022 through
October 3, 2023 in the amount of $1,241,531 (one million eight hundred and
seventeen thousand dollars), combined with additional prejudgment interest for each
day that passes before judgment is entered, calculated per the interest calculations
in Exhibit 2 to the Declaration of Mark Spiteri (D.I. 51);

C. — Post-judgment interest at the rate of 0.015% per day from the

date of this judgment, through the date this judgment is fully satisfied.

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CHIEF UNITED STATES 2{STRICT JUDGE

